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                            SENTENCING SUMMARY CHART
                         Sentencing Date: Dec. 28, 2021

Defendant        John Timothy Earnest               Docket No.         19CR1850-AJB
Attorney         Harrigan, P. Ko, Gibson            Phone No.          619-546-6981
                                                                       619-546-7359
                                                                       202-616-4571
Manual           Nov. 2021                          Agree w/USPO       N


Base Offense Level                                                            See
(Drug Quantity, if app.)                                                      attch
Specific Offense Characteristics                                              See
                                                                              attch
Victim Related Adjustment                                                     See
                                                                              attch
Adjustment for Role in the Offense
Adjustment for Obstruction of Justice
Adjustment for Reckless Endangerment During Flight
Adjusted Offense Level                                                        49
  [ X ] Combined (Mult. Counts) [       ] Career Off. [     ] ACC
Adjustment for Acc. Respon.: [X] Govt Motion, USSG 3E1.1(b)                   3-
Total Offense Level                                                           46
                                                                              (43)
Criminal History Score                                                        0
Criminal History Category                                                     I
 [ ] Career Offender [ ] Armed Career Criminal
Guideline Range                                                               Life
 Range limited by [ ] Mandatory Minimum        [ ] Statutory Maximum
Departures
Resulting Guideline Range [Adjusted Offense Level:           ]
RECOMMENDATION                                                                See *

*For counts 1 to 108 and 110, life in prison per count. For count 109, 20
years in prison. For counts 111 to 113, under 5G1.2(a), 10 years in prison
per count, each consecutive to all other sentences in this case. Total
effective sentence: life in prison, plus 30 years consecutive.

Approved: s/Andrew Haden
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                                  (Continued)

Per 1B1.1(a)(1)-(3), for each count, determine offense level under Chapter
2 and apply adjustments from Chapter 3, parts A to C.

     Counts 1 and 55
          1. Base offense level [2H1.1, 2A1.1]                      43
          2. Hate crime [3A1.1(a)]                                  +3

     Count 110
          1. Base offense level [2A1.1]                             43
          2. Hate crime [3A1.1(a)]                                  +3

     Counts 2 and 56
          1. Base offense level [2H1.1, 2A2.1]                      33
          2. Permanent bodily injury [2A2.1(b)(1)(A)]               +4
          3. Hate crime [3A1.1(a)]                                  +3

     Counts 3 and 57
          1. Base offense level [2H1.1, 2A2.1]                      33
          2. Serious bodily injury [2A2.1(b)(1)(B)]                 +2
          3. Hate crime [3A1.1(a)]]                                 +3

     Counts 4 and 58
          1. Base offense level [2H1.1, 2A2.1]                      33
          2. Serious bodily injury [2A2.1(b)(1)(B)]                 +2
          3. Hate crime [3A1.1(a)]                                  +3

     Counts 5-54 and 59-108
          1. Base offense level [2H1.1, 2A2.1]                      33
          2. Hate crime [3A1.1(a)]                                  +3

     Count 109
          1. Base offense level [2H1.1(a)(1), 2K1.4(a)(1)]          24
          2. Hate crime [3A1.1(a)]                                  +3

     Counts 111-113
          Per 2K2.4(b), guideline sentence for each count is minimum term
          of imprisonment required by statute.
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Per 3D1.1(a)(1), if convicted of multiple counts, group the counts
according to 3D1.2.

Per 3D1.2, group counts involving substantially same harm. Per 3D1.2(a),
counts involve substantially same harm if, inter alia, involve the same
victim and same act or transaction. Per 3D1.3(a), for counts grouped under
3D1.2(a), group offense level is highest offense level—under Chapter 2 and
Chapter 3, parts A to C—of counts in the group.

     Groups
          Counts   1,   55, and 110 (victim L. G-K)           Group   OL   46
          Counts   2,   56 (victim Y.G.)                      Group   OL   40
          Counts   3,   57 (victim A.P.)                      Group   OL   38
          Counts   4,   58 (victim N.D.)                      Group   OL   38

          Remaining groups are 9 or more levels below OL 46

Per 3D1.4, highest group OL is 46. Number of units based on remaining
groups equals 2.5, so add 3 levels.

     Combined offense level                                   49
